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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

Crystal Martinez,                     )
                                      )  ORDER FOR MID-DISCOVERY
             Plaintiff,               )  STATUS CONFERENCE
                                      )
       vs.                            )
                                      )
Arnett & Burgess Pipeliners (Rockies) )
LLC,                                  )
                                      )  Case No. 1:21-cv-035
             Defendants.              )
______________________________________________________________________________

       IT IS ORDERED:

       A mid-discovery status conference will be held before the magistrate judge on September

15, 2021, at 1:30 PM. The conference will be conducted via telephone conference. To participate

in the conference, counsel shall call the following number and enter the following access code:

       Tel. No.: (877) 810-9415

       Access Code: 8992581

The parties are advised that telephone conferences may be electronically recorded for the

convenience of the Court.

       Dated this 12th day of May, 2021.


                                            /s/ Clare R. Hochhalter
                                            Clare R. Hochhalter, Magistrate Judge
                                            United States District Court
